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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Prinzo & Associates, LLC
                                       Plaintiff,
v.                                                        Case No.: 1:20−cv−03256
                                                          Honorable Gary Feinerman
BMO Harris Bank, N.A., et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 30, 2020:


        MINUTE entry before the Honorable Gary Feinerman: Motion to proceed pro hac
vice [13] is granted.Mailed notice.(jlj, )




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